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                                    HILLAIR CAPITAL MANAGEMENT LLC
                                7

                                8                          UNITED STATES BANKRUPTCY COURT

                                9                           CENTRAL DISTRICT OF CALIFORNIA

                           10                                      LOS ANGELES DIVISION

                           11       In re                                           Case No. 2:19-bk-14989-WB
                           12       SCOOBEEZ, INC., a California corporation,       Chapter 11
                           13                        Debtor and Debtor in           (Related Case Nos. 2:19-bk-14991-BB
                                                     Possession.                    and 2:19-bk-14997-BR)
                           14
                                                                                    HILLAIR CAPITAL MANAGEMENT’S
                           15                                                       LIMITED OMNIBUS OPPOSITION TO:
                           16                                                       (I)      DEBTORS’ MOTION FOR
                                                                                             JOINT ADMINISTRATION;
                           17
                                                                                    (II)     EMERGENCY MOTION FOR
                           18                                                                ORDER AUTHORIZING
                                                                                             PAYMENT OF PREPETITION
                           19                                                                WAGES, ETC.; AND
                           20                                                       (III)    EMERGENCY MOTION FOR
                                                                                             ORDER AUTHORIZING THE
                           21                                                                MAINTENANCE OF EXISTING
                                                                                             BANK ACCOUNTS.
                           22
                                                                                    Hearing:
                           23                                                       Date:        May 1, 2019
                                                                                    Time:        3:00 p.m.
                           24
                                                                                    Place:       U.S. Bankruptcy Court
                           25                                                                    Courtroom 1375
                                                                                                 255 East Temple Street
                           26                                                                    Los Angeles, CA 90012
                                                                                    Judge:       Hon. Julia Brand
                           27

                           28
      BUCHALTER
A PROFES SION AL CORPORAT ION                                                   1
        LOS ANG ELES
                                    HILLAIR CAPITAL MANAGEMENT’S LIMITED OMNIBUS OPPOSITION TO FIRST DAY MOTIONS
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                                1   TO THE HONORABLE JULIA BRAND, UNITED STATES BANKRUPTCY JUDGE,
                                2   THE DEBTOR, ITS COUNSEL AND ALL PARTIES IN INTEREST:
                                3            Hillair Capital Management LLC and its affiliates (collectively, “Hillair”) is the senior
                                4   secured creditor of Scoobeez, Inc., a California corporation, debtor in the above-captioned
                                5   chapter 11 bankruptcy case (“Scoobeez”), and its affiliated debtors, Scoobeez Global, Inc., an
                                6   Idaho corporation (formerly known as ABT Holdings, Inc.) (“Scoobeez Global”) and Scoobur,
                                7   LLC, a California limited liability company (“Scoobur”) (collectively, the “Debtors”).
                                8            Hillair respectfully submits this limited omnibus opposition to the Debtors’ (i) Motion for
                                9   Joint Administration Pursuant to 11 U.S.C. § 105, etc. [Docket No. 9] (the “Joint Administration
                           10       Motion”), (ii) Emergency Motion for Order Authorizing (1) the Payment of Prepetition Wages,
                           11       etc. [Docket No. 8] (the “Employee Wage Motion”), and (iii) Emergency Motion for Order (1)
                           12       Authorizing the Maintenance of Existing Bank Accounts, etc. [Docket No. 7] (the “Cash
                           13       Management Motion”) as follows.
                           14                A.       Overview of the Debtors’ Secured Obligations to Hillair.
                           15                On January 30, 2017, Scoobeez Global and Hillair entered into a second Securities
                           16       Purchase Agreement pursuant to which Scoobeez Global issued to Hillair that certain 8% Senior
                           17       Secured Convertible Debenture Due January 1, 2019 in the total amount of $8,584,000 (the “2017
                           18       Debenture”).1 Under the 2017 Debenture, Scoobeez Global agreed to pay Hillair the principal
                           19       sum of $8,584,000 plus all other interest and charges due on or before January 1, 2019.
                           20                On October 7, 2016, Scoobeez and Scoobur each executed a Subsidiary Guarantee, jointly
                           21       and severally, and unconditionally guarantying the complete repayment of Scoobeez Global’s
                           22       obligations to Hillair. To secure repayment of all obligations owing to Hillair, on or about
                           23       October 7, 2016, Scoobeez Global, Scoobeez and Scoobur each, jointly and severally, executed a
                           24       Security Agreement. The Security Agreement granted Hillair a security interest in essentially all
                           25       of the assets of Scoobeez Global, Scoobeez and Scoobur.2
                           26       1
                                      The obligations owed by Scoobeez Global to Hillair pursuant to that certain Securities Purchase Agreement entered
                                    into on or about October 7, 2016 are included within the obligations due under the 2017 Debenture.
                           27       2
                                      Hillair duly perfected its security interest in the Collateral by filing UCC-1 financing statements as follows: (a) as
                                    to Scoobeez Global, a financing statement was filed with the Idaho Secretary of State on October 11, 2016, as File
                           28       No. B-2016-1183112-1; (b) as to Scoobeez, a financing statement was filed with the California Secretary of State on
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                                1           Scoobeez Global failed to pay its obligations under the 2017 Debenture in full by the
                                2   January 1, 2019 maturity date. There is due, owing and unpaid to Hillair from the Debtors the
                                3   principal sum of $11,153,098, plus accrued and accruing unpaid interest, late charges, together
                                4   with other miscellaneous charges set forth in the 2017 Debenture.
                                5           B.       Hillair’s Limited Opposition to the Joint Administration Motion.
                                6           In addition to the above-referenced chapter 11 case, on April 30, 2019 Scoobeez Global
                                7   filed its own chapter 11 case designated as In re Scoobeez Global, Inc., Case No. 2:19-bk-14991-
                                8   BB (Bankr. C.D. Cal.) assigned to Judge Sheri Bluebond, and Scoobur filed its own chapter 11
                                9   case designated as In re Scoobur, LLC, Case No. 2:19-bk-14997-BR (Bankr. C.D. Cal.) assigned
                           10       to Judge Barry Russell.         As of the filing of this Omnibus Limited Opposition, neither the
                           11       Scoobeez Global nor the Scoobur bankruptcy cases have been transferred to this Court. In
                           12       addition to this procedural issue, Hillair has the following substantive concerns with the Joint
                           13       Administration Motion.
                           14               On May 1, 2019, Scoobeez filed its ex parte Joint Administration Motion seeking entry of
                           15       an order authorizing joint administration of the three affiliated bankruptcy cases including the
                           16       following relief:
                           17                        (1)      use of a single docket for administrative matters;
                           18                        (2)     use of a combined service list for notice to creditors and parties in
                                                     interest;
                           19
                                                     (3)      scheduling joint hearings;
                           20
                                                     (4)      combined financial reporting for the estates;
                           21
                                                     (5)      joint and several liability for professional fees and costs; and
                           22
                                                     (6)      joint handling of any other administrative matters.
                           23
                                    See Joint Administration Motion, p. 3, ln. 2-21.
                           24
                                            While there is no real urgency to have this motion heard on an emergency basis, Hillair
                           25
                                    primarily objects to the Debtors’ request for entry of an order authorizing “joint and several
                           26
                                    liability for professional fees and costs.” The Debtors are seeking a procedurally improper
                           27
                                    October 11, 2016 as File No. 16-7550581531; (c) as to Scoobur, a financing statement was filed with the California
                           28       Secretary of State on October 11, 2016 as file no. 16-7550581210.
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A PROFES SION AL CORPORAT ION                                                               3
        LOS ANG ELES
                                    HILLAIR CAPITAL MANAGEMENT’S LIMITED OMNIBUS OPPOSITION TO FIRST DAY MOTIONS
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                                1   attempt to obtain substantive relief beyond the typical parameters allowed for joint
                                2   administration. While the Debtors claim that “the Debtors do not propose at this point to take any
                                3   action that would constitute substantive consolidation of the Estates,” see Joint Administration
                                4   Motion, p. 5, ln. 23-24, this is precisely the relief that the Debtors are requesting under the guise
                                5   of “joint administration.” Hillair’s concern is that profitable debtors would be used to subsidize
                                6   the unprofitable debtors with respect to the fees and costs incurred. This relief is inappropriate
                                7   for a joint administration motion and is better suited to be addressed in the context of the
                                8   forthcoming application to employ general insolvency counsel and cash collateral motion.
                                9           Relatedly, Hillair objects to the relief in the Joint Administration Motion seeking
                           10       “combined financial reporting” for the affiliated debtors. Each of the affiliated debtors is a
                           11       discrete business unit and should be required to report as such. With combined reporting,
                           12       creditors and interested parties will not be able to tell which debtors are profitable and which are
                           13       not. Nor will there be any visibility for the magnitude of those profits and losses. The Debtors
                           14       should not be able to use joint administration as a means to obfuscate their financial performance
                           15       through combined reporting.
                           16               Finally, Hillair objects to the Debtors’ open-ended request for an order authorizing “the
                           17       joint handling of any other administrative matters.” Considering that the Debtors have tried to
                           18       push the bounds of joint administration in the instant Joint Administration Motion, Hillair is
                           19       concerned that the Debtors may try to obtain other impermissible relief under the guise of joint
                           20       administration without providing the parties an opportunity to object and have a hearing.
                           21               The Debtors’ attempt to obtain this relief through a provision that allows for entry of an
                           22       order without an opportunity for a hearing under Local Bankruptcy Rule 1015-1(b) should not be
                           23       countenanced. Accordingly, Hillair asks this Court to strike the relief set forth in clauses (4), (5),
                           24       and (6) of the Joint Administration Motion from any order entered granting such motion.
                           25       Alternatively, Hillair requests that the Court set the Joint Administration Motion for a hearing and
                           26       allow the parties to further brief the issues. As above, there is no real emergency to this motion.
                           27

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        LOS ANG ELES
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                                1           C.      Hillair’s Limited Opposition to the Employee Wage Motion.
                                2           Through their Employee Wage Motion, the Debtors seek authorization to pay the accrued
                                3   prepetition wages of their employees that are due today, May 1, 2019. Hillair is sympathetic to
                                4   the needs of the Debtors to timely pay their payroll and is cognizant of the effect that non-
                                5   payment may have on the Debtors’ operations. Unfortunately, the Debtors have not attached a
                                6   redacted list of their employees and the associated payments to be made as is typically done in the
                                7   context of emergency first day motions nor have the Debtors provided a cash collateral budget to
                                8   Hillair setting forth the Debtors’ relative financial position, the amount of employee
                                9   compensation to be paid and whether the Debtors have the funds available to make such
                           10       payments. Hillair has requested this information but has received no substantive response. Yet,
                           11       Hillair is hopeful that the Debtors will provide such routine financial information prior to the
                           12       hearing on the Employee Wage Motion so that the Court and affected parties in interest can make
                           13       an informed decision regarding the payment of the employee wages.
                           14               More significantly, Hillair objects to the Employee Wage Motion to the extent that the
                           15       Debtors seek to pay insiders. Employee Wage Motion, p. 3., ln. 22 (“Certain of the Employees to
                           16       be paid pursuant to this Motion are insiders.”). Local Bankruptcy Rule 2014-1(a) addresses the
                           17       setting of compensation of insiders and requires that no compensation may be paid from the
                           18       assets of the estate from the time of the filing of the petition until the confirmation of the plan
                           19       unless the debtor serves its “Notice of Setting/Increasing Insider Compensation.” L. BANKR. R.
                           20       2014-1(a)(1). The local rules further provide that if an objection is timely received within the 14
                           21       day period following the service of the Notice then the debtor may not pay such compensation
                           22       and the debtor must set the matter for hearing. L. BANKR. R. 2014-1(a)(3) and (a)(4).
                           23               Similarly, the U.S. Trustee’s guidelines provides that “[b]efore any insiders (as defined in
                           24       11 U.S.C. § 101(31)) . . . may receive compensation from a Chapter 11 estate, the debtor must
                           25       submit a Notice of Setting/Increasing Insider Compensation.” See Guidelines and Requirements
                           26       for Chapter 11 Debtors in Possession (Central Division), Office of the United States Trustee
                           27       (Region 16), p. 7 at Part IV.B.1. (rev. Jan. 2018). The Court must deny the Employee Wage
                           28       Motion to the extent that it seeks to pay the wages and employee benefits of the Debtors’ insiders.
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                                1           Finally, the Employee Wage Motion seeks to pay various other prepetition employee
                                2   benefit obligations consisting of health insurance contributions, expense reimbursements, and
                                3   productivity and referral bonuses. However, the Debtors do not provide any reporting on the
                                4   amounts owed other than stating that the amounts are approximately $850,000 per year on
                                5   average. Like the payroll amounts due today, the Debtors should similarly provide a list of
                                6   benefit obligations by employee (as may be redacted) along with the appropriate cash collateral
                                7   reporting so that the Court and Hillair can properly evaluate whether the Debtors are able to meet
                                8   these obligations.
                                9           D.      Hillair’s Limited Opposition to the Cash Management Motion.
                           10               The Debtors’ Cash Management Motion seeks relief from the requirements that the
                           11       Debtors close their existing pre-petition bank accounts and reopen existing bank accounts. Hillair
                           12       does not object to the Debtors’ request to maintain their existing bank accounts and cash
                           13       management system. To the extent that the Debtors open post-petition accounts, Hillair maintains
                           14       that such accounts be subject to their senior, perfected security interest. Hillair anticipates that
                           15       this will be provided for in connection with the Debtors’ forthcoming request to use cash
                           16       collateral. The Cash Management Motion also seeks authorization to pay expenses related to the
                           17       maintenance of these bank accounts. Hillair submits this limited objection on the basis that the
                           18       Debtors have yet to provide Hillair with a cash collateral budget so that it can evaluate such
                           19       payments in relation to the Debtors overall financial projections.
                           20               E.      Conclusion.
                           21               Based on the foregoing, Hillair submits this limited omnibus opposition to the Debtors’
                           22       Joint Administration Motion, Employee Wage Motion and Cash Management Motion and
                           23       requests that the Court address these concerns in connection with the first-day hearings on the
                           24       motions.
                           25       DATED: May 1, 2019                            BUCHALTER, a Professional Corporation
                           26                                                     By: /s/ Anthony J. Napolitano
                                                                                                 STEVEN M. SPECTOR
                           27                                                                ANTHONY J. NAPOLITANO
                                                                                     Attorneys for Secured Creditor
                           28                                                        HILLAIR CAPITAL MANAGEMENT, LLC
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A PROFES SION AL CORPORAT ION                                                        6
        LOS ANG ELES
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                                          PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
BUCHALTER, 1000 Wilshire Blvd, Suite 1500, Los Angeles, CA 90017
A true and correct copy of the foregoing document entitled (specify) HILLAIR CAPITAL MANAGEMENT’S LIMITED
OMNIBUS OPPOSITION TO: (I) DEBTORS’ MOTION FOR JOINT ADMINISTRATION; (II) EMERGENCY MOTION FOR
ORDER AUTHORIZING PAYMENT OF PREPETITION WAGES, ETC.; AND (III) EMERGENCY MOTION FOR ORDER
AUTHORIZING THE MAINTENANCE OF EXISTING BANK ACCOUNTS will be served or was served (a) on the judge in
chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
May 1, 2019         , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

     •    Alvin Mar alvin.mar@usdoj.gov
     •    Ashley M McDow amcdow@foley.com, sgaeta@foley.com;Ffarivar@foley.com;swilson@foley.com
     •    Anthony J Napolitano anapolitano@buchalter.com, IFS_filing@buchalter.com;salarcon@buchalter.com
     •    United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) May 1, 2019         , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

Debtor
Scoobeez, Inc.
3463 Foothill Blvd.
Glendale, CA 91214

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) May 1, 2019, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
                                                                            Service information continued on attached page
I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

VIA COURIER
Presiding Judge
Hon. Julia W. Brand
U.S. Bankruptcy Court – Central District of California
Edward R. Roybal Federal Building and Courthouse
255 E. Temple Street, Suite 1382
Los Angeles, CA 90012




May 1, 2019                     Sandra Alarcon                                                 /s/ Sandra Alarcon
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
